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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                           ALEXANDRIA DIVISION


                                        )
 REYNOLDS CONSUMER PRODUCTS INC.,       )
                                        )
                   Plaintiff,           )
                                        )
             v.                         )     Case No.: 1:13-cv-214 LO/TRJ
                                        )
 HANDI-FOIL CORPORATION,                )
                                        )
                   Defendant.           )
                                        )




             DEFENDANT HANDI-FOIL CORPORATION’S PROPOSED
              JURY INSTRUCTIONS AND SPECIAL VERDICT FORM
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        PART I: HANDI-FOIL’S PROPOSED PRELIMINARY INSTRUCTIONS
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 PRELIMINARY INSTRUCTION NO. 1: INTRODUCTORY REMARKS

        Ladies and gentlemen: You are now the jury in this case, and I want to take a few
 minutes to tell you something about your duties as jurors and to give you some instructions. At
 the end of the trial, I will give you more detailed instructions. Those instructions will control
 your deliberations.

        One of my duties is to decide all questions of law and procedure. From time to time
 during the trial and at the end of trial, I will instruct you on the rules of law that you must follow
 in making your decision.

         You should not take anything I may say or do during the trial as indicating what I think of
 the evidence or what your verdict should be.

         By your verdict, you will decide disputed issues of fact. Because you will be asked to
 decide the facts of this case, you should give careful attention to the testimony and evidence
 presented. Keep in mind that I will instruct you at the end of the trial about determining the
 credibility or “believability” of the witnesses.

         While the trial is in progress, you must not discuss the case in any manner among
 yourselves or with anyone else. In addition, you should not permit anyone to discuss the case in
 your presence. You should avoid reading any news articles that might be published about the
 case. You should also avoid watching or listening to any television or radio comments on the
 Internet about the trial.

        The party who sues is called the plaintiff. In this action, the plaintiff is Reynolds
 Consumer Products LLC. The party being sued is called the defendant. In this action, the
 defendant is Handi-Foil Corporation.

       You will sometimes hear me refer to “counsel.” “Counsel” is another way of saying
 “lawyer” or “attorney.” I will sometimes refer to myself as the “Court.”

        When I “sustain” an objection, I am excluding that evidence from this trial for good
 reason. When you hear that I have “overruled” an objection, I am permitting that evidence to be
 admitted.

         When I say “admitted into evidence” or “received in to evidence,” I mean that this
 particular statement or the particular exhibit may be considered by you in making the decisions
 you must make at the end of the case.

         From time to time during the trial, I may make rulings on objections or motions made by
 the lawyers. It is a lawyer’s duty to object when the other side offers testimony or other
 evidence the lawyer believes is not admissible. You should not be biased or partial against a
 lawyer or the lawyer’s client because the lawyer has made objections. If I sustain or uphold an
 objection to a question that goes unanswered by the witness, you should not draw any inferences


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 or conclusions from the question. You should not infer or conclude from any ruling or other
 comment I may make that I have any opinions on the merits of the case favoring one side or the
 other. I do not favor one side of the other.1




 1
     3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
     Instructions § 101:01 (6th ed. 2011); Virginia Model Jury Instructions - Civil, Vol. 1 2.000
     (2013); SEVENTH CIRCUIT FEDERAL CIVIL JURY INSTRUCTIONS PRELIMINARY INSTRUCTIONS
     at 338 (2009) (citing NINTH CIRCUIT MANUAL OF MODEL CIVIL JURY INSTRUCTIONS § 1.1
     (2001); FIFTH CIRCUIT PATTERN JURY INSTRUCTIONS (Civil) (2004)); ELEVENTH CIRCUIT
     CIVIL PATTERN JURY INSTRUCTION § 1.1 (2013).



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 PRELIMINARY INSTRUCTION NO. 2: ORDER OF TRIAL

        The trial will proceed in the following manner:

        First, Reynolds’ attorney may make an opening statement. Next, Handi-Foil’s attorney
 may make an opening statement. An opening statement is not evidence but is simply a summary
 of what the attorney expects the evidence to be.

        After the opening statements, Reynolds will call witnesses and present evidence. Then,
 Handi-Foil will have an opportunity to call witnesses and present evidence. After the parties’
 main cases are completed, Reynolds may be permitted to present rebuttal evidence.

        After the evidence is presented, the parties’ lawyers make closing arguments explaining
 what they believe the evidence has shown. What is said in closing arguments is not evidence.

        After the evidence has been presented, I will instruct you on the law that applies to the
 case and the attorneys will make closing arguments.

         Finally, I will instruct you on the law that you are to apply in reaching your verdict. You
 will then go to the jury room and decide the case.2




 2
     3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
     Instructions § 101:02 (6th ed. 2011); SEVENTH CIRCUIT FEDERAL CIVIL JURY INSTRUCTIONS
     PRELIMINARY INSTRUCTIONS at 338 (2009) (citing EIGHTH CIRCUIT MANUAL OF MODEL
     CIVIL JURY INSTRUCTIONS § 1.06 (2001); FIFTH CIRCUIT PATTERN JURY INSTRUCTIONS
     (CIVIL) (2004); NINTH CIRCUIT MANUAL OF MODEL CIVIL JURY INSTRUCTIONS § 1.02 (2001));
     see also United States District Court Eastern District of Virginia, Handbook for Trial Jurors,
     The Eight Staged of Trial (http://www.vaed.uscourts.gov/jury/trialhandbook.html#top).



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  PRELIMINARY INSTRUCTION NO. 3: CLAIMS AND DEFENSES

          In order to help you follow the evidence, I will now give you a brief summary of the
  positions of the parties.

          The plaintiff, Reynolds, and the defendant, Handi-Foil, the parties to this case, both make
  and sell aluminum foil. Reynolds sells Reynolds Wrap brand aluminum foil and Handi-Foil sells
  Handi-Foil brand aluminum foil.

          Reynolds has sued Handi-Foil for trademark infringement, false designation of origin,
  trade dress infringement, trademark dilution, false advertising and unfair competition under the
  federal statute known as the Lanham Act based on the package designs of Handi-Foil’s Handi-
  Foil brand aluminum foil and certain statements Handi-Foil and its independent sales
  representatives have made to sell these products to retailers, such as grocery stores. Reynolds
  also has asserted claims of unjust enrichment, common law unfair competition and trademark
  infringement under Virginia state law. Handi-Foil denies all of these claims.

         On certain other issues, called affirmative defenses, Handi-Foil has the burden of proving
  the elements of its defense by a preponderance of the evidence. Handi-Foil is asserting the
  affirmative defenses of failure to state a claim of damages, laches and/or estoppel, and the
  doctrine of unclean hands.

         What I have just given you is only a preliminary outline. At the end of trial I will give
  you a final instruction on these matters. If there is any difference between what I just told you,
  and what I tell you in the instructions I give you at the end of the trial, the instructions given at
  the end of the trial govern.3




  3
      3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
      Instructions § 101:03 (6th ed. 2011); SEVENTH CIRCUIT FEDERAL CIVIL JURY INSTRUCTIONS
      PRELIMINARY INSTRUCTIONS at 339 (2009); ELEVENTH CIRCUIT CIVIL PATTERN JURY
      INSTRUCTION § 1.1 (2013).



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  PRELIMINARY INSTRUCTION NO. 4: BURDEN OF PROOF PREPONDERANCE

         When I say a particular party must prove something by “a preponderance of the
  evidence,” this is what I mean: When you have considered all of the evidence in this case, you
  must be persuaded that it is more probably true than not true.

          This is a civil case and as such the Reynolds has the burden of proving the material
  allegations of its complaint. Similarly, with respect to Handi-Foil’s affirmative defenses, Handi-
  Foil has the burden to prove the material allegations of those counterclaims.

         “Establish by a preponderance of the evidence” means evidence, which as a whole,
  shows that the fact sought to be proved is more probable than not. In other words, a
  preponderance of the evidence means such evidence as, when considered and compared with the
  evidence opposed to it, has more convincing force, and produces in your minds belief that what
  is sought to be proved is more likely true than not. This standard does not require proof to an
  absolute certainty, since proof to an absolute certainty is seldom possible in any case.

         In determining whether any fact in issue has been proved by a preponderance of
  evidence, unless otherwise instructed you may consider the testimony of all witnesses, regardless
  of who may have called them, and all exhibits received in evidence, regardless of who may have
  produced them.4




  4
      3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
      Instructions § 101:41 (6th ed. 2011); John S. Siffert, Modern Federal Jury Instructions
      ¶ 73.01 (2007); Virginia Model Jury Instructions - Civil, Vol. 1 3.100 (2013); SEVENTH
      CIRCUIT FEDERAL CIVIL JURY INSTRUCTION § 1.27 (2009); ELEVENTH CIRCUIT CIVIL
      PATTERN JURY INSTRUCTION § 1.1 (2013).



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  PRELIMINARY INSTRUCTION NO. 5: PROVINCE OF JUDGE AND JURY

         After all of the evidence has been heard and arguments and instructions are finished, you
  will need to make your decision. You will determine the facts from all the testimony and other
  evidence that is presented. You are the sole and exclusive judge of the facts. I must stress that
  you must accept the rules of law that I give you, whether or not you agree with them.

          The law permits me to comment on the evidence in the case during the trial or while
  instructing the jury. Such comments are only expressions of my opinion as to the facts. You
  may disregard these comments entirely because you are to determine for yourself the weight of
  the evidence and the credibility of each of the witnesses.5




  5
      3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
      Instructions § 101:10 (6th ed. 2011); SEVENTH CIRCUIT FEDERAL CIVIL JURY INSTRUCTIONS
      PRELIMINARY INSTRUCTIONS at 340 (2009).



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  PRELIMINARY INSTRUCTION NO. 6: EVIDENCE IN THE CASE

         The evidence in this case will consist of the following:

         1. The sworn testimony of the witnesses, no matter who called a witness.

         2. All exhibits received in evidence, regardless of who may have produced the exhibits.

         3. All facts that may have been judicially noticed and that you must take as true for
            purpose of this case.

         Depositions may also be received in evidence. Depositions contain sworn testimony,
  with the lawyers for each party being entitled to ask questions. In some cases, a deposition may
  be played for you on videotape. Deposition testimony may be accepted by you, subject to the
  same instructions that apply to witnesses testifying in open court.

         Statements and arguments of the lawyers are not evidence in the case, unless made as an
  admission or stipulation of fact.

          A “stipulation” is an agreement between both sides that certain facts are true or that
  person would have given testimony. When the lawyers on both sides stipulate or agree to the
  existence of a fact, you must, unless otherwise instructed, accept the stipulation as evidence, and
  regard that fact as proved.

          I may take judicial notice of certain facts or events. When I declare that I will take
  judicial notice of some fact or event, you must accept that fact as true.

         If I sustain an objection to any evidence or if I order evidence stricken, that evidence
  must be entirely ignored.

         Some evidence is admitted for a limited purpose only. When I instruct you that an item
  of evidence has been admitted for a limited purpose, you must consider it only for that limited
  purpose.

          You are to consider only the evidence in the case. But in your consideration of the
  evidence you are not limited to the statements of the witness. In other words, you are not limited
  solely to what you see and hear as the witness testified. You may draw from the facts that you
  find have been proved, such reasonable inferences or conclusions as you feel are justified in light
  of your experience.

           At the end of trial you will have to make your decision based on what you recall of the
  evidence. You will not have a written transcript to consult, and it is difficult and time consuming
  for the reporter to read back lengthy testimony. I urge you to pay close attention to the testimony
  as it is given.6

  6
      3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
      Instructions § 101:40; 101.45 (6th ed. 2011).


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  PRELIMINARY          INSTRUCTION         NO.    7:      JUROR      USE     OF    ELECTRONIC
  TECHNOLOGY

          You, as jurors, must decide this case based solely on the evidence presented here within
  the four walls of this courtroom. This means that during the trial you must not conduct any
  independent research about this case, the matters in this case, or the individuals or organizations
  involved in the case. In other words, you should not consult dictionaries or reference materials,
  search the Internet, websites, blogs or use any other electronic tools to obtain information about
  this case or to help you decide the case. Please do not try to find out information from any
  source outside the confines of this courtroom.

          Until you retire to deliberate, you may not discuss this case with anyone, even your
  fellow jurors. After you retire to deliberate, you may begin discussion the case with your fellow
  jurors, but you cannot discuss the case with anyone else until you have returned a verdict and the
  case is at an end. I hope that for all of you this case is interesting and noteworthy. I know that
  many of you use cell phones, Blackberries, iPhones, the Internet and other tools of technology.
  You also must not talk to anyone about this case or use these tools to communicate electronically
  with anyone about the case. This includes your family and friends. You may not communicate
  with anyone about the case on your cell phone, through e-mail, Blackberry, iPhone, text
  messaging, or on Twitter, through any blog or website, through any internet chat room, or by
  way of any other social networking websites, including Facebook, My Space, LinkedIn and
  YouTube.7




  7
      3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
      Instructions § 101:13 (6th ed. 2011).



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  PRELIMINARY INSTRUCTION NO. 8: CREDIBILITY OF THE WITNESS

         In deciding the facts, you may have to decide which testimony to believe and which
  testimony not to believe. You may believe everything a witness says, part of it, or none of it. In
  considering the testimony of any witness, you may take into account many factors, including the
  witness’s opportunity and ability to see or hear or know the things the witness testified about; the
  quality of the witness’s memory; the witness’s appearance and manner while testifying; the
  witness’s interest in the outcome of the case; any bias or prejudice the witness may have; other
  evidence that may have contradicted the witness’s testimony; and the reasonableness of the
  witness’s testimony in light of all the evidence. The weight of the evidence does not necessarily
  depend upon the number of witnesses who testify.

         You are entitled to use your common sense in judging any testimony. From these things
  and all the other circumstances of the case, you may determine which witnesses are more
  believable and weigh their testimony accordingly.8




  8
      3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
      Instructions § 101:43 (6th ed. 2011); John S. Siffert, Modern Federal Jury Instructions
      ¶ 76.01 (2007); Virginia Model Jury Instructions - Civil, Vol. 1 2.020 (2013).



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  PRELIMINARY INSTRUCTION NO. 9: ADVERSE WITNESSES

         A party may call one or more of the other party’s employees as an adverse witness. The
  party calling the adverse witness is bound by as much of the witness’s testimony given as an
  adverse witness as is clear, logical, reasonable and uncontradicted.

         The party is not bound by any of the witness’s testimony given as an adversely conflicts
  with any of the other evidence in the case.9




  9
      Virginia Model Jury Instructions - Civil, Vol. 1 2.030 (2013) (modified).



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  PRELIMINARY INSTRUCTION NO. 10: EXPERT WITNESS

          The rules of evidence ordinarily do not permit witnesses to testify as to opinions or
  conclusions. There is an exception to this rule for “expert witnesses.” An expert witness is a
  person who by education and experience has become expert in some art, science, profession or
  calling. Expert witnesses give their opinions as to matters in which they profess to be expert,
  and may also state their reasons for their opinions.

         You should consider each expert opinion received in evidence in this case, and give it
  such weight as you think it deserves. If you should decide the opinion of an expert witness is not
  based upon sufficient education and experience, or if you should conclude the reasons given in
  support of the opinion are not sound, or if you feel the expert’s opinion is outweighed by other
  evidence, you may disregard the opinion entirely.10




  10
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 104:4 (6th ed. 2011); Virginia Model Jury Instructions - Civil, Vol. 1 2.040
       (2013).



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  PRELIMINARY INSTRUCTION NO. 11:                       DEFINITION OF “DIRECT” AND
  “CIRCUMSTANTIAL” EVIDENCE

          Generally speaking, there are two types of evidence presented during a trial—direct
  evidence and circumstantial evidence. “Direct evidence” is the testimony of a person who
  asserts or claims to have actual knowledge of a fact, such as an eyewitness.

          “Indirect or circumstantial” evidence is proof of a claim of facts and circumstance
  indicating the existence or nonexistence of a fact. The law generally makes no distinction
  between the weight or value given to either direct or circumstantial evidence. A greater degree
  of certainty is not required of circumstantial evidence. You are required to find the facts in
  accordance with the preponderance of all the evidence in the case, both direct and
  circumstantial.11




  11
       Virginia Model Jury Instructions - Civil, Vol. 1 2.100 (2013); Kevin F. O’Malley, Jay
       Grenig, and William C. Lee, Federal Jury Practice and Instructions § 101:42 (6th ed. 2011).



                                                 13
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  PRELIMINARY INSTRUCTION NO. 12: INFERENCES

         You are to consider only the evidence in this case. However, you are not limited to the
  statements of the witnesses. You may draw from the facts you find have been proved such
  reasonable inferences as seem justified in light of your experience.

         “Inferences” are deductions or conclusions that reason and common sense lead you to
  draw from facts established by the evidence in the case.12




  12
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 104:20 (6th ed. 2011); SEVENTH CIRCUIT FEDERAL CIVIL JURY INSTRUCTIONS
       PRELIMINARY INSTRUCTIONS at 341 (2009).



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  PRELIMINARY INSTRUCTIONS NO. 13: RULINGS ON OBJECTIONS

          When a lawyer asks a question or offers an exhibit into evidence and a lawyer on the
  other side believes the question or exhibit is not admissible under the rules of evidence, that
  lawyer may object. If I overrule the objection, the question may be answered or the exhibit
  received into evidence. If I sustain the objection, the question cannot be answered and the
  exhibit cannot be received into evidence.

         If I sustain an objection to a question or the admission of an exhibit, you must ignore the
  question and must not guess what the answer to the question might have been. In addition, you
  must not consider evidence that I have ordered stricken from the record.13




  13
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 101:49 (6th ed. 2011).



                                                 15
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  PRELIMINARY INSTRUCTIONS NO. 14: BENCH CONFERENCES

          From time to time it may be necessary for me to talk to the lawyers out of your hearing.
  The purpose of these conferences is to decide how certain matters are to be treated under the
  rules of evidence.

         We will, of course, do what we can to keep the number and length of these conferences to
  a minimum, but you should remember the importance of the matter you are here to determine
  and should be patient even though the case may seem to go slowly.14




  14
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 101:31 (6th ed. 2011); SEVENTH CIRCUIT FEDERAL CIVIL JURY INSTRUCTIONS
       PRELIMINARY INSTRUCTIONS at 342 (2009) (citing FIFTH CIRCUIT PATTERN JURY
       INSTRUCTIONS § 2.7 (CIVIL) (2004); EIGHTH CIRCUIT MANUAL OF MODEL CIVIL JURY
       INSTRUCTIONS § 1.03 (2001); ELEVENTH CIRCUIT PATTERN JURY INSTRUCTIONS
       (CIVIL CASES) (2000)).



                                                16
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  PRELIMINARY INSTRUCTIONS NO. 15: NOTE-TAKING PERMITTED

        During this trial, I will permit you to take notes. You are not required to take notes. If
  you do not take notes, you should not be influenced by another juror’s notes, but should rely
  upon your own recollection of the evidence.

        Because many courts do not permit note-taking by jurors, a word of caution is in order.
  You must not allow your note taking to distract you from the proceedings.

          Frequently, there is a tendency to attach too much important to what a person writes
  down. Some testimony that is considered unimportant at the time presented and not written
  down may take on greater importance later in the trial in light of all the evidence presented, the
  final arguments, and my instructions on the law.

          Accordingly, you are instructed that your notes are only a tool to aid your own individual
  memory and you should not compare your notes with other jurors in determining the content of
  any testimony or in evaluating the importance of any evidence. Your notes are not evidence, and
  are by no means a complete outline of the proceedings or a list of the highlights of the trial.
  Your memory should be your greatest asset when it comes to deciding this case.15




  15
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 101:15 (6th ed. 2011); SEVENTH CIRCUIT FEDERAL CIVIL JURY INSTRUCTIONS
       § 1.07 (2009); EIGHTH CIRCUIT MANUAL OF MODEL CIVIL JURY INSTRUCTIONS § 1.06 (2013).



                                                 17
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  PRELIMINARY INSTRUCTIONS NO. 16: NO TRANSCRIPT AVAILABLE TO JURY

         At the end of the trial, you will have to make your decision based on what you remember
  about the evidence. You will not have a written transcript to read, and it is difficult and time-
  consuming for the reporter to read/play back testimony. I urge you to pay close attention to the
  testimony as it is presented at the trial.16




  16
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 101:20 (6th ed. 2011); SEVENTH CIRCUIT FEDERAL CIVIL JURY INSTRUCTIONS
       PRELIMINARY INSTRUCTIONS at 343 (2009) (citing EIGHTH CIRCUIT MANUAL OF MODEL
       CIVIL JURY INSTRUCTIONS § 1.04 (2001)).



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  PRELIMINARY INSTRUCTION NO. 17: QUESTIONS BY JURORS PROHIBITED

          I do not permit jurors to ask questions of witnesses or of the lawyers. Please do not
  interrupt the lawyers during their examination of witnesses.

          If you are unable to hear a witness or a lawyer, please raise your hand immediately and I
  will see that it is corrected.17




  17
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 101:18 (6th ed. 2011).



                                                 19
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  PRELIMINARY INSTRUCTION NO. 18:                     NO INFERENCE FROM JUDGE’S
  QUESTIONS

         During the trial, I may sometimes ask a witness questions. Do not assume that because I
  ask questions I hold any opinion on the matters I ask about, or on how the case should be
  decided.18




  18
       SEVENTH CIRCUIT FEDERAL CIVIL JURY INSTRUCTIONS § 1.02 (2009).



                                               20
Case 1:13-cv-00214-LO-TCB Document 205 Filed 03/17/14 Page 26 of 94 PageID# 6858



  PRELIMINARY INSTRUCTION NO. 19: JURY CONDUCT

         To ensure fairness, all jurors must follow certain rules of conduct, and you must follow
  them, too.

  1. Do not talk to each other about this case or about anyone involved with this case until the end
     of the trial when you go to the jury room to decide on your verdict.

  2. Do not talk with anyone else about this case or about anyone involved with this case until the
     trial has ended and you have been discharged as jurors. “Anyone else” includes members of
     your family and your friends. You may tell people you are a juror, but do not tell them
     anything else about the case.

  3. Outside of the courtroom, do not let anyone tell you anything about the case, or about anyone
     involved with it until the trial has ended. If someone should try to talk to you about the case
     during the trial, please report it to me immediately.

  4. During the trial you should not talk with or speak to any of the parties, lawyers or witnesses
     involved in this case—you should not even pass the time of day with any of them. It is
     important not only that you do justice in this case, but that you also give the appearance of
     doing justice.

  5. Do not read any news stories or articles about this case, or about anyone involved with it, or
     listen to any radio or television reports about the case or anyone involved with it.

  6. Do not do any research, such as checking dictionaries, or make any investigation about the
     case on your own.

  7. Do not make up your mind during the trial about what the verdict should be. Keep an open
     mind until after you have gone to the jury room to decide the case and you and the other
     jurors have discussed all the evidence.

  8. If you need to tell me something, simply give a signed note to the marshal to give to me.19




  19
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 101:11 (6th ed. 2011).



                                                 21
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      PART II: HANDI-FOIL’S PROPOSED POST-TRIAL JURY INSTRUCTIONS




                                       22
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  POST-TRIAL INSTRUCTION NO. 1: GENERAL INTRODUCTION

          Now that you have heard the evidence and the argument, it is my duty to instruct you
  about the applicable law.

          It is your duty to follow the law as I will state it. You must apply the law to the facts as
  you find them from the evidence in the case. Do not single out one instruction as stating the law,
  but consider the instructions as a whole. Do not be concerned about the wisdom of any rule of
  law stated by me. You must follow and apply the law.

        If there is any difference between the law stated by the lawyers and these instructions,
  you must follow my instructions.

          Nothing I say in these instructions indicates I have any opinion about the facts. You, not
  I, have the duty to determine the facts.

         You must perform your duties as jurors without bias or prejudice as to any party. The
  law does not permit you to be controlled by sympathy, prejudice or public opinion. All parties
  expect that you will carefully and impartially consider all the evidence, follow the law as it is
  now being given to you and reach a just verdict, regardless of the consequences.20




  20
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 103:01 (6th ed. 2011).



                                                  23
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  POST-TRIAL INSTRUCTION NO. 2: USE OF DEPOSITIONS AS EVIDENCE

          During the trial, certain testimony has been presented to you by way of deposition. The
  deposition consisted of sworn, recorded answers to questions asked of the witness in advance of
  the trial by attorneys for the parties to the case. The testimony of a witness who, for some
  reason, is not present to testify from the witness stand may be presented in writing under oath, or
  on a videotape.

         Such testimony is entitled to the same consideration and is to be judged as to credibility,
  weighed, and otherwise considered by you, insofar as possible, in the same way as if the witness
  had been present and had testified from the witness stand.21




  21
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 105:02 (6th ed. 2011).



                                                  24
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  POST-TRIAL INSTRUCTION NO. 3: CONSIDERATION OF EVIDENCE

         Unless you are otherwise instructed, the evidence in the case consists of the sworn
  testimony of the witnesses regardless of who called the witness, all exhibits received in evidence
  regardless of who may have produced them, and all facts and events that may have been
  admitted or stipulated to.

          Statements and arguments by the lawyers are not evidence. The lawyers are not
  witnesses. What they have said in their opening statement, closing arguments, and at other times
  is intended to help you understand the evidence, but it is not evidence. However, when the
  lawyers on both sides stipulate or agree on the existence of a fact, unless otherwise instructed,
  you must accept the stipulation and regard that fact as proved.

          If I have taken judicial notice of a fact, you must accept it as true.

          Any evidence to which I have sustained an objection and evidence that I have ordered
  stricken must be entirely disregarded.22




  22
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 103:30 (6th ed. 2011).



                                                    25
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  POST-TRIAL INSTRUCTION NO. 4: NOTE-TAKING

          You may use the notes taken by you during the trial. However, the notes should not be
  substituted for your memory. Remember, notes are not evidence. If your memory should differ
  from your notes, then you should rely on your memory and not on your notes.23




  23
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 103:02 (6th ed. 2011).



                                               26
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  POST-TRIAL INSTRUCTION NO. 5:                EVIDENCE ADMITTED FOR A LIMITED
  PURPOSE ONLY

          Sometimes evidence may be admitted for a particular purpose and not generally for all
  purposes. You will recall that during the course of this trial I instructed you that I admitted
  certain evidence for a limited purpose. You must consider this evidence only for the limited
  purpose for which it was admitted.24




  24
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 102:40 (6th ed. 2011).



                                                27
Case 1:13-cv-00214-LO-TCB Document 205 Filed 03/17/14 Page 33 of 94 PageID# 6865



  POST-TRIAL INSTRUCTION NO. 6: INFERENCES

         You are to consider only the evidence in this case. However, you are not limited to the
  statements of the witnesses. You may draw from the facts you find have been proved such
  reasonable inferences as seem justified in light of your experience.

         “Inferences” are deductions or conclusions that reason and common sense lead you to
  draw from facts established by the evidence in the case.25




  25
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 104:20 (6th ed. 2011).



                                               28
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  POST-TRIAL INSTRUCTION NO.                   7:      DEFINITION        OF    “DIRECT”       AND
  “CIRCUMSTANTIAL” EVIDENCE

          Generally speaking, there are two types of evidence presented during a trial—direct
  evidence and circumstantial evidence. “Direct evidence” is the testimony of a person who
  asserts or claims to have actual knowledge of a fact, such as an eyewitness.

          “Indirect or circumstantial” evidence is proof of a claim of facts and circumstance
  indicating the existence or nonexistence of a fact. The law generally makes no distinction
  between the weight or value to given to either direct or circumstantial evidence. A greater
  degree of certainty is not required of circumstantial evidence. You are required to find the facts
  in accordance with the preponderance of all the evidence in the case, both direct and
  circumstantial.26




  26
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 104:05 (6th ed. 2011); Virginia Model Jury Instructions - Civil, Vol. 1 2.100
       (2013).



                                                 29
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  POST-TRIAL INSTRUCTION NO. 8: NUMBER OF WITNESSES

          The weight of the evidence is not necessarily determined by the number of witnesses
  testifying to the existence or nonexistence of any fact. You may find the testimony of a small
  number of witnesses as to any fact is more credible than the testimony of of a larger number of
  witnesses to the contrary.

          You are not bound to decide any issue of fact in accordance with the testimony of any
  number of witnesses that does not produce in your minds belief in the likelihood of truth, as
  against the testimony of a lesser number of witnesses or other evidence producing such belief in
  your minds.

          The test is not which side brings the greater number of witnesses or takes the most time
  to present its evidence, but which witnesses and which evidence appeal to your minds as being
  most accurate and otherwise trustworthy.27




  27
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 104:54 (6th ed. 2011); Virginia Model Jury Instructions - Civil, Vol. 1 2.100
       (2013).



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  POST-TRIAL INSTRUCTION NO. 9: DISCREPANCIES IN TESTIMONY

          You are the sole judges of the credibility of witnesses and the weight their testimony
  deserves. You may be guided by the appearance and conduct of a witness, or by the manner in
  which a witness testifies, or by the character of the testimony given, or by evidence contrary to
  the testimony.

         You should carefully examine all the testimony given, the circumstances under which
  each witness has testified, and every matter in evidence tending to show whether a witness is
  worthy of belief. Consider each witness’s intelligence, motive and state of mind, and demeanor
  or manner while testifying.

         Consider the witness’s ability to observe the matter as to which the witness has testified
  and whether the witness impresses you as having an accurate recollection of these matters. Also,
  consider any relation each witness may have with either side of the case, the manner in which
  each witness might be affected by the verdict, and the extent to which the testimony of each
  witness is either supported or contradicted by other evidence in the case.

          Inconsistencies or discrepancies in the testimony of a witness, or between the testimony
  of different witnesses may or may not cause you to discredit such testimony. Two or more
  persons seeing an event may see or hear it differently.

          In weighing the effect of a discrepancy, always consider whether it pertains to a matter of
  importance or an unimportant detail, and whether the discrepancy results from innocent error or
  intentional falsehood.

         After making your own judgment, you will give the testimony of each witness such
  weight, if any, that you may think it deserves. In short, you may accept or reject the testimony of
  any witness, in whole or in part.

          In addition, the weight of the evidence is not necessarily determined by the number of
  witnesses testifying to the existence or nonexistence of any fact. You may find that the
  testimony of a small number of witnesses as to any fact is more credible than the testimony of a
  larger number of witnesses to the contrary.28




  28
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 105:01 (6th ed. 2011); Virginia Model Jury Instructions - Civil, Vol. 1 2.100
       (2013).



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  POST-TRIAL INSTRUCTION                NO.     10:      IMPEACHMENT—INCONSISTENT
  STATEMENT OR CONDUCT

           A witness may be discredited or impeached by contradictory evidence or by evidence that
  at some other time the witness has said or done something, or has failed to say or do something,
  that is inconsistent with the witness’s current testimony.

         If you believe any witness has been impeached and thus discredited, you may give the
  testimony of that witness such credibility, if any, you think it deserves.

          If a witness is shown to have knowingly to have testified falsely about any material
  matter, you have a right to distrust such witness’s other testimony and you may reject all the
  testimony of the witness or give it such credibility as you may think it deserves.

         An act or omission is “knowingly” done if the act is done voluntarily and intentionally,
  and not because of mistake or accident or other innocent reason.29




  29
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 105:04 (6th ed. 2011).



                                                32
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  POST-TRIAL INSTRUCTION NO. 11:                      EFFECT OF PRIOR INCONSISTENT
  STATEMENTS OR CONDUCT

         Evidence that, at some other time while not under oath a witness who is not a party to this
  action has said or done something inconsistent with the witness’s testimony at the trial, may be
  considered for the sole purpose of judging the credibility of the witness. However, such
  evidence may never be considered as evidence of proof of the truth of any such statement.

         Where the witness is a party to the case, and by such statement or other conduct admits
  some fact or facts against the witness’s interest, then such statement or other conduct, if
  knowingly made or done, may be considered as evidence of the truth of the fact or facts so
  admitted by such party, as well as for the purpose of judging the credibility of the party as a
  witness.

         An act or omission is “knowingly” done if the act is done voluntarily and intentionally,
  and not because of mistake or accident or other innocent reason.30




  30
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 105.09 (6th ed. 2011).



                                                 33
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  POST-TRIAL INSTRUCTION NO. 12:                 EFFECT OF REFUSAL OF WITNESS TO
  ANSWER

          The law requires every witness to answer all proper questions put to the witness at trial,
  unless I rule the witness is privileged to refuse to answer on constitutional or other grounds.

        The fact a witness refuses to answer a question after being instructed by me to answer it
  may be considered by the jury as one of the factors in determining the credibility of the witness
  and weight his or her testimony deserves.31




  31
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 105:10 (6th ed. 2011).



                                                 34
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  POST-TRIAL INSTRUCTION NO. 13:                      ALL AVAILABLE WITNESSES OR
  EVIDENCE NEED NOT BE PRODUCED

         The law does not require any party to call as witnesses all persons who may have been
  present at any time or place involved in the case, or who may appear to have some knowledge of
  the matters at issue at this trial. Nor does the law require any party to produce as exhibits all
  papers and things mentioned in the evidence of the case.32




  32
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 105:11 (6th ed. 2011)



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  POST-TRIAL INSTRUCTION NO. 14: EXPERT WITNESSES

          The rules of evidence ordinarily do not permit witnesses to testify as to opinions or
  conclusions. There is an exception to this rule for “expert witnesses.” An expert witness is a
  person who by education and experience has become expert in some art, science, profession or
  calling. Expert witnesses state their opinions as to matters in which they profess to be expert and
  may also state their reasons for their opinions.

         You should consider each expert opinion received in evidence in this case and give it
  such weight as you think it deserves. If you should decide the opinion of an expert witness is not
  based upon sufficient education and experience, or if you should conclude the reasons given in
  support of the opinion are not sound, or if you feel the expert’s is outweighed by other evidence,
  you may disregard the opinion entirely.33




  33
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 104:40 (6th ed. 2011); Virginia Model Jury Instructions - Civil, Vol. 1 2.100
       (2013).



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  POST-TRIAL INSTRUCTION NO. 15: CHARTS AND SUMMARIES

          Charts and summaries have been shown to you in order to help explain facts disclosed by
  books, records and other documents in evidence in the case. These charts or summaries are not
  themselves evidence or proof of any facts. If the charts or summaries do not correctly reflect
  facts or figures shown by the evidence in the case, you should disregard them.

         The charts and summaries are used only as a matter of convenience. To the extent that
  you find they are not truthful summaries of facts or figures shown by the evidence in the case,
  you are to disregard them entirely.34




  34
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 104:50 (6th ed. 2011); Virginia Model Jury Instructions - Civil, Vol. 1 2.100
       (2013).



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  POST-TRIAL INSTRUCTION NO. 16: ORAL STATEMENTS OR ADMISSIONS

         Evidence as to any oral statements or admissions, claimed to have been made outside of
  court by a party to any case, should always be considered with caution and weighed with great
  care. The person alleged to have made the alleged statement or admission may not have
  expressed clearly the meaning intended, or the witness testifying to an alleged admission may
  have misunderstood or may have misquoted what was actually said.

          However, when an oral statement or admission made outside of court is proved by
  reliable evidence, the statement or admission may be treated as trustworthy and should be
  considered along with all other evidence in the case.35




  35
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 104:53 (6th ed. 2011).



                                               38
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  POST-TRIAL INSTRUCTION NO. 17: DEMONSTRATIVE EXHIBITS

          Certain demonstrative exhibits have been shown to you, e.g., models, diagrams,
  timelines, devices and sketches. Those exhibits are used for convenience and to help explain the
  facts of the case. They are not themselves evidence or proof of any facts.36




  36
       SEVENTH CIRCUIT FEDERAL CIVIL JURY INSTRUCTIONS § 1.24 (2009).



                                                39
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  POST-TRIAL INSTRUCTION NO. 18: ANSWERS TO INTERROGATORIES

         Each party has introduced into evidence certain interrogatories—that is, questions
  together with answers signed and sworn to by the other party. A party is bound by its sworn
  answers.

         By introducing an opposing party’s answers to interrogatories, the introducing party does
  not bind itself to those answers. The introducing party may challenge the opposing party’s
  answers in whole or in part or may offer contrary evidence.37




  37
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 104:72 (6th ed. 2011); Virginia Model Jury Instructions - Civil, Vol. 1 2.100
       (2013).



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  POST-TRIAL INSTRUCTION NO. 19: ELECTION OF FOREPERSON; DUTY TO
  DELIBERATE; COMMUNICATIONS WITH COURT; CAUTIONARY UNANIMOUS
  VERDICT; VERDICT FORM

          You must follow these rules while deliberating and returning your verdict.

         First, when you go to the jury room, you must select a foreperson. The foreperson will
  preside over your discussions and speak for you here in court.

          Second, it is your duty, as jurors, to discuss this case with one another in the jury and try
  to reach agreement.

          Each of you must make your own conscientious decision, but only after you have
  considered all the evidence, discussed it fully with the other jurors, and listened to the views of
  the other jurors.

          Do not be afraid to change your opinions if the discussions persuade you that you should.
  But do not make a decision simply because other jurors think it is right or simply to reach a
  verdict. Remember at all times that you are juries of the facts. Your sole interest is to seek the
  truth from the evidence in this case.

          Third, if you need to communicate with me during your deliberations, you may send a
  note to me through the marshal or bailiff, signed by one or more jurors. I will respond as soon as
  possible either in writing or orally in open court. Remember you should not tell anyone—
  including me—how your votes stand numerically.

         Fourth, your verdict must be based solely on the evidence and on the law I have given to
  you in these instructions. The verdict must be unanimous. Nothing I have said or done is
  intended to suggest what your verdict should be-that is entirely for you to decide.

          Finally, the verdict form is simply the written notice of the decision that you reach in this
  case. You will take this form to the jury room, and when each of you has agreed on the
  verdict[s], your foreperson will fill in the form, sign and date it, and advise the marshal or bailiff
  that you are ready to return to the courtroom.38




  38
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 103:50 (6th ed. 2011).



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  POST-TRIAL INSTRUCTION NO. 20: COMMUNICATIONS BETWEEN COURT AND
  JURY DURING JURY’S DELIBERATIONS

         If it becomes necessary during your deliberations to communicate with me, you may send
  a note by a bailiff, signed by your foreperson or by one or more members of the jury. No
  member of the jury should ever attempt to communicate with me by any means other than a
  signed writing. I will never communicate with any member of the jury on any subject touching
  the merits of the case otherwise than in writing, or orally here in open court.

         From the oath about to be taken by the bailiffs you will note that they too, as well as all
  other persons, are forbidden to communicate in any way or manner with any member of the jury
  on any subject touching the merits of the case.

          Bear in mind also that you are never to reveal to any person—not even to me—how the
  jury stands, numerically or otherwise, on the questions before you, until after you have reached a
  unanimous verdict.39




  39
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 106:08 (6th ed. 2011).



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  POST-TRIAL INSTRUCTION NO. 21: DISAGREEMENT AMONG JURORS

         I have a few thoughts for you to consider in your deliberations. You should consider
  these thoughts along with the evidence received during the trial and all the instructions
  previously given to you.

         You should not surrender your honest beliefs as to the weight or effect of evidence solely
  because of the opinions of other jurors or for the mere purpose of returning a unanimous verdict.
  However, it is your duty as jurors to consult with one another and to deliberate with a view to
  reaching an agreement if you can do so without violating individual judgment. Each of you must
  decide the case for yourself, but you should do so only after a consideration of the evidence in
  the case with your fellow jurors. In the course of your deliberations you should not hesitate to
  reexamine your own views and change your opinion if convinced it is erroneous.

          You are not partisans. You are judges—judges of the facts. Your sole interest here is to
  determine whether the plaintiff has proven each essential element of each claim concerning the
  defendant by a preponderance of the evidence. You are the exclusive judges of the credibility of
  all the witnesses and of the weight and effect of all the evidence.

          At all times no juror is expected to yield a conscientious belief that the juror may have as
  to the weight or effect of evidence. Remember that, after full deliberation and consideration of
  all the evidence in the case, it is your duty to agree upon a verdict if you can do so without
  violating your individual judgment and your conscience.

          You may conduct your deliberations as you choose, but I suggest you carefully
  reexamine and reconsider all the evidence in the case bearing upon the questions before you in
  the light of the Court’s instructions on the law.

          You may be as leisurely in your deliberations as the occasion may require and you may
  take all the time you may feel is necessary.40




  40
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 106:10 (6th ed. 2011).



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  POST-TRIAL INSTRUCTION NO. 22:                ELECTION OF FOREPERSON—VERDICT
  FORM

         Upon retiring to the jury room, you will select one of you to act as your foreperson. The
  foreperson will preside over your deliberations, and will be your spokesperson here in court.

          Verdict forms have been prepared for your convenience.

          You will take these forms to the jury room and, when you have reached unanimous
  agreement as to your verdict, you will have your foreperson fill in, date and sign the form that
  sets forth the verdict upon which you unanimously agree. You will then return with your verdict
  to the courtroom.41




  41
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 106:04 (6th ed. 2011).



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  POST-TRIAL INSTRUCTION NO. 23: BURDEN OF PROOF

           As I instructed you at the beginning of trial, Reynolds has the burden to prove every
  essential element of each of its claims by a preponderance of the evidence. If Reynolds should
  fail to establish any essential element of any particular claim by a preponderance of the evidence
  you should find for Handi-Foil as to that claim.42




  42
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 104:01 (6th ed. 2011); SEVENTH CIRCUIT FEDERAL CIVIL JURY INSTRUCTIONS
       § 1.27 (2009).



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  POST-TRIAL INSTRUCTION NO. 24: TRADEMARKS AND TRADE DRESS CLAIMS

           Reynolds claims that Handi-Foil has infringed Reynolds’ trademark and trade dress.

          A trademark is a word, symbol, or combination of words or symbols used by a person to
  identify his product, to distinguish his product from those manufactured or sold by others, and to
  indicate the source of his product.

          A trade dress is a type of trademark used by a person to identify his product, to
  distinguish his product from those manufactured or sold by others, and to indicate the source of
  his product. The term “trade dress” refers to the total image of a product, product packaging,
  product label, product design, or a combination of these things. It includes features such as size,
  shape, color or color combinations, texture, graphics, or particular sales techniques.

         The purpose of trademark law is to prevent confusion among consumers about the source
  of products and to permit trademark and trade dress owners to show ownership of their products
  and control their product’s reputation. 43

          Reynolds claims that Handi-Foil infringed Reynolds’ trademarks and trade dress for the
  design of the Reynolds Wrap package by adopting the package designs Handi-Foil has used on
  its packages of Handi-Foil brand aluminum roll foil.

           Reynolds claims that the following elements make up its protectable trade dress: 44

       a. The color scheme – the majority of the box is a bright shade of blue, called “reflex blue,”
       created specifically for Reynolds, and the rest of the front of the box is a shade of pink that is
       slightly darker than PMS 486;

       b. The use of the color scheme – the blue and pink sections run left to right;

       c. The use of prominent lettering to display the brand name within the blue section on the front of
       the box;

       d. The use of silver bands to separate the blue from the pink sections of the front of the box;

       e. The placement of the quantity information (square footage) in the pink section on the right side
       front of the box, using bold type written in blue, and including, in white lettering, the number of
       yards by inches and the total meters, broken down into the number of meters by millimeters;

       f. The inclusion that “FOIL MADE IN U.S.A.” in silver lettering on the front of the box;

       g. The repetition of the color scheme and type on the ends of the box;

  43
       SEVENTH CIRCUIT FEDERAL CIVIL JURY INSTRUCTIONS § 13.1.1 (2009); 1 MCCARTHY                       ON
       TRADEMARKS AND UNFAIR COMPETITION § 8:4 (4th ed. 2014).
  44
       June 11, 2013 Reynolds’ First Amended Responses to Handi-Foil’s First Set of
       Interrogatories, No. 1.



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     h. The use of the “press here to lock” feature on the ends of the boxes;

     i. The use of graphics with how-to information showing how to “Wrap food to keep it fresh & to
     prevent freezer burn,” “Line pans before cooking to make cleanup easy,” and “Cover bowls to
     help keep food moist & prevent splatters”;

     j. The use of the “Lift” graphic to indicate how to open the box;

     k. The positioning of REYNOLDS WRAP on the top flap of the box; and

     l. The color (yellow), placement, and text used to caution the consumer.




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  POST-TRIAL INSTRUCTION NO. 25: TRADEMARK INFRINGEMENT AND FALSE
  DESIGNATION OF ORIGIN—ELEMENTS OF CLAIMS

         Reynolds claims that Handi-Foil infringed Reynolds’ registered trademarks and falsely
  designated the origin of its products. To prevail under either cause of action, Reynolds must
  prove by a preponderance of the evidence that:

          1. Reynolds owns a valid, protectable trademark;

          2. Reynolds trademark became unique associated with Reynolds as the source of the
             aluminum foil packages prior to 2011;

          3. Handi-Foil used Reynolds trademark without the consent of Reynolds that is likely to
             cause confusion among ordinary purchasers as to the source of the goods;

          4. Reynolds was damages by Handi-Foil’s use of its trademark.45




  45
       15 U.S.C. §§ 1114, 1125; Lamparello v. Falwell, 420 F.3d 309, 312-13 (4th Cir. 2005)
       (finding judgment of noninfringement).



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  POST-TRIAL INSTRUCTION                NO.   26:      TRADE      DRESS        INFRINGEMENT—
  ELEMENTS OF CLAIM

          To prove its claim for trade dress infringement, Reynolds must prove by a preponderance
  of the evidence that:

          1. Reynolds’ trade dress is primarily non-functional;

          2. The alleged infringement creates a likelihood of confusion; and

          3. The trade dress either (a) is inherently distinctive, or (b) has acquired a secondary
             meaning.46




  46
       Ashley Furniture Indus., Inc. v. SanGiacomo N.A. Ltd., 187 F.3d 363, 368 (4th Cir. 1999);
       X-IT Prods., LLC v. Walter Kidde Portable Equip., Inc., 155 F. Supp. 2d 577, 617 (E.D. Va.
       2001).



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  POST-TRIAL INSTRUCTION                 NO.    27:      TRADE      DRESS      INFRINGEMENT—
  FUNCTIONALITY

         Reynolds has the burden of establishing that the trade dress elements it claims are not
  functional. A product design or feature is functional if it is essential to the use or purpose of the
  product or it affects the cost or quality of the article. Instructions are inherently functional.47




  47
       TrafFix Devices, Inc. v. Mktg. Displays, Inc., 532 U.S. 23, 29 (2001); Wal-Mart Stores, Inc.
       v. Samara Bros., Inc., 529 U.S. 205, 213 (2000); Abercrombie & Fitch Stores, Inc. v. Am.
       Eagle Outfitters, Inc., 280 F.3d 619, 640 (6th Cir. 2002); Ashley Furniture Indus., Inc. v.
       SanGiacomo N.A. Ltd., 187 F.3d 363, 376 (4th Cir. 1999); see e.g., Close To My Heart, Inc.
       v. Enthusiast Media LLC, 508 F. Supp. 2d 963, 970 (D. Utah 2007) (“informational
       instruction on how to put together a scrap book page [claimed as trade dress]” are
       functional); E-Z Bowz, L.L.C. v. Prof. Prod. Res. Co., Inc., No. 00 Civ. 9670(LTS)GWG,
       2003 WL 22068573, at *23 (S.D.N.Y. Sept. 5, 2003) (“instructions are inherently
       functional”); SEVENTH CIRCUIT FEDERAL CIVIL JURY INSTRUCTIONS, TRADEMARK/TRADE
       DRESS INFRINGEMENT at 310 (2009).




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  POST-TRIAL INSTRUCTION                 NO.    28:      TRADE      DRESS      INFRINGEMENT—
  INHERENTLY DISTINCTIVE

           In order to demonstrate its trade dress is inherently distinctive, Reynolds must prove by a
  preponderance of the evidence that consumers would be impressed enough by its trade dress that
  if they were to see something sufficiently like it, it would be reasonable for them to assume
  either that is exactly the same product (and therefore implicitly the product of the same producer)
  or that it was different product made by the same producer. For example, a basic overall design
  that is common or simply a refinement of a commonly-adopted and well-known design cannot be
  inherently distinctive.

          An inherently distinctive trade dress is one that consumers would almost automatically
  recognize as identifying a particular brand or source of the product. To determine whether the
  Reynolds Wrap package design is inherently distinctive, you should consider it as a whole. Some
  of the factors you may consider are:

          •   Whether the Reynolds Wrap package design is a common basic design (which
              suggests that the trade dress is not inherently distinctive), or instead is an uncommon
              design (which suggests that the trade dress is inherently distinctive); and

          •   Whether the Reynolds Wrap package design is unique or unusual in a particular field
              (which suggests that the trade dress is inherently distinctive), or instead is common in
              that field (which suggests that the trade dress is not inherently distinctive).48




  48
       Ashley Furniture Indus., Inc. v. SanGiacomo N.A. Ltd., 187 F.3d 363, 372-73 (4th Cir. 1999);
       see Wal-Mart Stores, Inc. v. Samara Bros., Inc., 529 U.S. 205, 215 (2000) (“The attribution
       of inherent distinctiveness to certain categories of word marks and product packaging derives
       from the fact that the very purpose of attaching a particular word to a product, or encasing it
       in a distinctive packaging, is most often to identify the source of the product.”); Devan
       Designs, Inc. v. Palliser Furniture Corp., No. 2:91CV00512, 1992 WL 511694, at *6 n.2
       (M.D.N.C. 1992) (the test for inherent distinctiveness is to ask “whether the trade dress is a
       common basic design, unique or unusual and merely a refinement of a well-known form;
       furniture design held not inherently distinctive”); SEVENTH CIRCUIT FEDERAL CIVIL JURY
       INSTRUCTIONS § 13.1.2.2.2 (2009).



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  POST-TRIAL INSTRUCTION                NO.    29:     TRADE      DRESS      INFRINGEMENT—
  SECONDARY MEANING

          Reynolds has the burden of establishing its trade dress has acquired secondary meaning if
  it is non-functional and not inherently distinctive. Secondary meaning is developed over time,
  and in the minds of the public the trade dress must be the primary identifier of the source of the
  product. It is difficult to achieve secondary meaning if a design is common among the market of
  other sellers of aluminum foil.

         Reynolds must demonstrate that: (1) a substantial portion of the consuming public (who
  buy or use or consider or using the product) identifies Reynolds’ trade dress with a particular
  source; and (2) Reynolds’ trade dress acquired the secondary meaning prior to when Handi-Foil
  allegedly began infringing Reynolds’ trade dress.49




  49
       Wal-Mart Stores, Inc. v. Samara Bros., Inc., 529 U.S. 205, 210 (2000); 1 MCCARTHY         ON
       TRADEMARKS AND UNFAIR COMPETITION § 8:11:50 (4th ed. 2014).



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  POST-TRIAL INSTRUCTION NO. 30:                               STATE       LAW       TRADEMARK
  INFRINGEMENT—ELEMENTS OF CLAIM

          To prove a claim of trademark infringement under state law, Reynolds must demonstrate
  that Handi-Foil (1) used the mark in a manner likely to cause a consumer confusion, mistake, or
  deception as to the source of origin of any goods or services, without the consent of the owner of
  a registered mark, any reproduction, counterfeit, copy or colorable imitation of registered mark
  in connection with the sale, offering for sale, distribution, or advertising of such goods or
  services or (2) reproduces, counterfeits, copies or colorable imitates a registered mark and
  applies such reproduction, counterfeit, copy, or colorable imitation to labels, signs, prints,
  packages, wrappers, receptacles, advertisements or any item intended to be used in a manner
  likely to cause a consumer confusion, mistake or deception as to the source or origin of any
  goods or services in connection with the sale, offering for sale, distribution or advertising of such
  goods or services shall be liable in a civil action by the owner of a registered mark.

          Virginia state law requires a finding of likelihood of confusion to prove trademark
  infringement.50




  50
       Va. Code Ann. § 59.1-92.12(i); Swatch AG v. Beehive Wholesale, LLC, 739 F.3d 150, 162-63
       (4th Cir. 2014).



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  POST-TRIAL INSTRUCTION NO. 31: COMMON LAW UNFAIR COMPETITION—
  ELEMENTS OF CLAIM

          Virginia common law unfair competition claim requires the same proof, including
  likelihood of confusion, as the Lanham Act offenses.51




  51
       Swatch AG v. Beehive Wholesale, LLC, 739 F.3d 150, 162-63 (4th Cir. 2014); Lone Star
       Steakhouse & Saloon, Inc. v. Alpha of Virginia, Inc., 43 F.3d 922, 930 n. 10 (4th Cir. 1995)
       (“The test for trademark infringement and unfair competition under the Lanham Act is
       essentially the same as that for common law unfair competition under Virginia law because
       both address the likelihood of confusion as the source of the goods or services involved.”).



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  POST-TRIAL INSTRUCTION NO. 32: LIKELIHOOD OF CONFUSION—THE NINE
  FACTORS

          Likelihood of confusion is an element that Reynolds must prove in order to succeed on its
  claims for trademark infringement, false designation of origin and trade dress infringement. The
  same likelihood of confusion analysis applies to Reynolds’ claims for trademark infringement,
  false designation of origin and trade dress infringement.

          A likelihood of confusion exists between two marks or trade dress if Handi-Foil’s
  package design is likely to cause confusion in the minds of consumers about the source or origin
  of the goods or services in question.

          To determine if there is a likelihood of confusion, you should consider the following nine
  factors:

          1. The strength or distinctiveness of the plaintiff’s mark as actually used in marketplace;

          2. The similarity of the two marks to consumers;

          3. The similarity of the goods or services that the marks identify;

          4. The similarity of the facilities used by the markholders;

          5. The similarity of advertising used by the markholders;

          6. The defendant’s intent;

          7. Actual confusion;

          8. The quality of the defendant’s product; and

          9. The sophistication of the consuming public.

  These nine factors serve as a guide rather than “a rigid formula for infringement”; they are not all
  of equal importance and not all factors are relevant in every case.52




  52
       Swatch AG v. Beehive Wholesale, LLC, 739 F.3d 150, 158-89 (4th Cir. 2014); George & Co.,
       LLC v. Imagination Entm’t Ltd., 575 F.3d 383, 393 (4th Cir. 2009); SEVENTH CIRCUIT
       FEDERAL CIVIL JURY INSTRUCTIONS, TRADEMARK/TRADE DRESS INFRINGEMENT at 312 (2009).



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  POST-TRIAL INSTRUCTION NO. 33: LIKELIHOOD OF CONFUSION—ABSENCE
  OF ACTUAL CONFUSION

         Absence of any evidence of actual confusion over a substantial period of time creates a
  strong inference that there is no likelihood of confusion. Generally, whether or not there is
  confusion is considered the most important factor in a likelihood of confusion analysis.53




  53
       Swatch AG v. Beehive Wholesale, LLC, 739 F.3d 150, 162 (4th Cir. 2014) (actual confusion
       factor is considered the “most important factor” in a likelihood of confusion analysis “and
       that the ‘absence of any evidence of actual confusion over a substantial period of time …
       creates a strong inference that there is no likelihood of confusion”); George & Co. v.
       Imagination Entm’t Ltd., 575 F.3d 383, 399 (4th Cir. 2009); CareFirst of Md. Inc. v. First
       Care, P.C., 434 F.3d 263, 268-69 (4th Cir. 2005) (“[E]vidence of action confusion is ‘often
       paramount’ in the likelihood-of-confusion analysis.”); ELEVENTH CIRCUIT CIVIL PATTERN
       JURY INSTRUCTIONS at 656-57 (2013).



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  POST-TRIAL INSTRUCTION NO. 34: LIKELIHOOD OF CONFUSION—STRENGTH
  OF MARK—CROWDED FIELD

           The fact that there are other third-party users of similar marks on similar product is
  relevant to the alleged strength of Reynolds’ mark and is known as the crowded field doctrine.
  The crowded field doctrine applies when there are numerous similar marks in the same industry.
  If a crowded field exists, then each mark in that crowd is a relatively weak mark and is weak in
  its ability to prevent use by others in the crowd.54




  54
       Coryn Grp. II, LLC v. O.C. Seacrets, Inc., No. WDQ-08-2764, 2011 WL 862729, at *10-11
       (D. Md. Mar. 10. 2011) (third-party use of trademarks is relevant to the strength of the mark);
       see JL Beverage Co., LLC v. Beam, Inc., 899 F. Supp. 2d 991, 1000 (D. Nev. 2012) (finding
       that a crowded field existed in a beverage industry and weakened the mark); Univ. of Kansas
       v. Sinks, 565 F. Supp. 2d 1216, 1231-32 (D. Kan. 2008) (noting that “third-party use of a
       mark is admissible”); Halo Mgmt., LLC v. Interland, Inc., 308 F. Supp. 2d 1019, 1036-37
       (N.D. Ca. 2003) (finding that plaintiff did not establish a threshold likelihood of confusion
       because it found that the market place was replete with products using similar names); 2
       MCCARTHY ON TRADEMARKS AND UNFAIR COMPETITION § 11:85 (4th Ed. 2013) (a crowded
       field weakens a mark).



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  POST-TRIAL INSTRUCTION NO. 35:                     FEDERAL TRADEMARK DILUTION—
  ELEMENTS

          To prevail on its dilution claim, Reynolds has the burden of proving each of the following
  by a preponderance of the evidence as to each of Reynolds’ marks and trade dress:


          1. Reynolds owns a valid, protectable mark;

          2. Reynolds’ mark is famous and it became famous before 2012;

          3. Reynolds mark is distinctive, either inherently or acquired through use;

          4. Handi-Foil commenced use in commerce of a mark different than Reynolds on its
             own goods after Reynolds mark became famous; and

          5. Handi-Foil’s use of its mark is likely to cause dilution of Reynolds’ mark by blurring
             or tarnishment.55




  55
       15 U.S.C. § 1125(c); Louis Vuitton Malletier S.A. v. Haute Diggity Dog, LLC, 507 F.3d 252,
       264-65 (4th Cir. 2007); see Tiffany Inc. v. eBay Inc., No. 08-3947-cv, 2010 WL 1236315, at
       *15 (2d. Cir. Apr. 1, 2010) (in order to sustain a claim for dilution, defendant must (1) use a
       different mark than that of plaintiff and (2) sell the goods itself).



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  POST-TRIAL INSTRUCTION NO. 36: FEDERAL TRADEMARK DILUTION—FAME

          In order to demonstrate that dilution occurred, Reynolds must prove that a mark is
  famous. Under the Lanham Act a mark is famous if it is widely recognized by the general
  consuming public of the United States as a designation of source of the goods or services of
  mark’s owner. To determine whether a mark is famous, you should consider the following
  factors:

          1. The duration, extent and geographic reach of advertising and publicity of the mark,
             whether advertised or publicized by the owner of third parties;

          2. The amount, volume and geographic extent of sales of goods or services offered
             under the mark; and

          3. The extent of actual recognition of the mark.56

        Reynolds’ mark is not strong enough to be diluted by Handi-Foil’s use if it has already
  been weakened by third party uses.57




  56
       15 U.S.C. § 1125(c)(2)(A); Louis Vuitton Malletier S.A. v. Haute Diggity Dog, LLC, 507
       F.3d 252, 264-65 (4th Cir. 2007); 4 J. Thomas McCarthy, McCarthy on Trademarks and
       Unfair Competition §24:106 (4th ed. 2014) (suggesting that for a mark to be famous it must
       have at least 75% awareness in a survey of the general consuming public).
  57
       Time, Inc. v. Petersen Publ’g Co., 173 F.3d 113, 118 (2d. Cir. 1999), as reprinted in Jury
       Instructions in Intellectual Property Cases, Duane Burton, § 30:51:15.



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  POST-TRIAL INSTRUCTION NO. 37:                   FEDERAL TRADEMARK DILUTION—
  DILUTION BY BLURRING

          Under the Lanham Act there are two types of dilution. The first one is “dilution by
  blurring.” Dilution by blurring is the association arising from the similarity between a mark or
  trade name and a famous mark and impairs the distinctiveness of the famous mark. To
  determine whether a mark or trade name is likely to cause dilution by blurring, you should
  consider the following:

          1. The degree of similarity between the mark or trade name and the famous mark;

          2. The degree of inherent or acquired distinctiveness of the famous mark;

          3. The extent to which the owner of the famous mark is engaging in substantially
             exclusive use of the mark;

          4. The degree of recognition of the famous mark;

          5. Whether the user of the mark or trade name intended to create an association with the
             famous mark; and

          6. Any actual association between the mark or trade name and the famous mark.58




  58
       15 U.S.C. § 1125(c)(2)(B); Louis Vuitton Malletier S.A. v. Haute Diggity Dog, LLC, 507
       F.3d 252, 266 (4th Cir. 2007).



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  POST-TRIAL INSTRUCTION NO. 38:                    FEDERAL TRADEMARK DILUTION—
  DILUTION BY TARNISHMENT

         The second type of dilution is “dilution by tarnishment.” Dilution by tarnishment is
  association arising from the similarity between a mark or trade name and a famous mark that
  harms the reputation of the famous mark.59




  59
       15 U.S.C. § 1125(c)(2)(C); Louis Vuitton Malletier S.A. v. Haute Diggity Dog, LLC, 507
       F.3d 252, 268 (4th Cir. 2007) (dilution by tarnishment is defined as “the association arising
       from the similarity between a mark or trade name and a famous mark that harms the
       reputation of the famous mark”).



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  POST-TRIAL INSTRUCTION NO. 39:                   UNJUST ENRICHMENT—ELEMENTS OF
  CLAIM

         To prove unjust enrichment, Reynolds must demonstrate three elements: (1) Reynolds
  conferred a benefit on Handi-Foil; (2) Handi-Foil knew of the benefit and should reasonably
  have expected to repay Reynolds; and (3) Handi-Foil accepted or retained the benefit without
  paying its value.60




  60
       Rosetta Stone, Ltd. v. Google, Inc., 676 F.3d 144, 165-66 (4th Cir. 2012).



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  POST-TRIAL INSTRUCTION NO. 40:                     FALSE ADVERTISING—ELEMENTS OF
  CLAIM

          Under the federal statue, the Lanham Act, it is unlawful in commercial advertising or
  promotion for a corporation to use either a false description of fact or a misleading description of
  fact that misrepresents the nature, characteristics or qualities of its or another company’s goods,
  services or commercial activities.

        A party claiming either a false advertising or a misleading advertising must prove by a
  preponderance of the evidence:

          1. That the advertiser made either a false statement or a misleading statement as to its
             own products or another’s;

          2. That there is actual deception or at least the tendency to deceive a substantial portion
             of the intended audience;

          3. That the deception is material, in that it is likely to influence the purchasing decision;

          4. That the advertised goods traveled in interstate commerce; and

          5. That there is a likelihood of injury to the plaintiff in terms of declining sales, loss of
             goodwill, etc.

          In its claim for false advertising under the Lanham Act, Reynolds may establish Handi-
  Foil’s liability by proving that the alleged statements are literally false. To be literally false, the
  falsity must be evident on the face of the advertisement.

         Alternatively, Reynolds may establish Handi-Foil’s liability by proving that the alleged
  statements are literally true descriptions of Handi-Foil, they nevertheless have a tendency to
  mislead, confuse or deceive a substantial number of aluminum foil purchasers about its
  aluminum foil. Reynolds has the burden of demonstrating how consumers interpret the alleged
  statements and must submit evidence to that effect.

         In determining whether the alleged statements have a tendency to mislead, confuse or
  deceive, you should not ask whether you yourself would be misled. You should determine if the
  ordinarily consumers of aluminum foil are likely to be misled, confused or deceived. The
  Lanham Act does not require that a false or misleading statement be made with intent to mislead,
  confuse, or deceive.61




  61
       15 U.S.C. § 1125(a); PBM Prods., LLC v. Mead Johnson & Co., No. 3:09-CV-269, 2010
       WL 723750, at *3 (E.D. Va. Mar. 2, 2010); United Indus. Corp. v. Clorox Co., 140
       F.3d 1175, 1182 (8th Cir. 1998).



                                                    63
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  POST-TRIAL INSTRUCTION NO. 41:                    FALSE ADVERTISING—COMMERCIAL
  ADVERTISING AND PROMOTION

         Commercial advertising and promotion is any commercial statement made for the
  purpose of influencing consumers to buy products or services, provided that such promotion is
  communicated to the relevant purchasing public. Commercial advertising is not limited to
  newspaper, magazine, radio and television advertising and can include more informal types of
  “promotion;” however, it must be disseminated sufficiently to the relevant purchasing public.
  Further, an accused statement must be part of an organized campaign to penetrate the relevant
  market.62




  62
       15 U.S.C. §1125(a)(1)(B); Applied Med. Res. Corp. v. Steuer, 527 F. Supp. 2d 489, 493 (E.D.
       Va. 2007); Fashion Boutique of Short Hills, Inc. v. Fendi USA, Inc., 314 F.3d 48, 58 (2d Cir.
       2002); Neurotron, Inc. v. Am. Ass’n of Electrodiagnostic Med., 189 F. Supp. 2d 271, 275 (D.
       Md. 2001).



                                                  64
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  POST-TRIAL INSTRUCTION NO. 42:                       FALSE ADVERTISING—LITERAL OR
  IMPLIED FALSITY

          To establish that Handi-Foil’s claims are misleading representations that deceive or are
  likely to deceive the intended audience, Reynolds must either show (1) that representations made
  by Handi-Foil are literally false or (2) that consumers are likely to find the claims made by
  Handi-Foil misleading because it implies a false message.

            If Reynolds proved literal falsity, there is no need to show that the buying public was
  misled.

          If Handi-Foil’s statements are literally true, yet deceptive, Reynolds must prove that there
  is either actual deception or a tendency to mislead consumers.63




  63
       Time Warner Cable, Inc. v. DIRECTV, Inc., 497 F.3d 144, 158 (2d Cir. 2007); Novartis
       Consumer Health, Inc. v. Johnson & Johnson-Merck Consumer Pharms. Co., 290 F.3d 578,
       586-87 (3d Cir. 2002); Scotts Co. v. United Indus. Corp., 315 F.3d 264, 274 (4th Cir. 2002);
       Clorox Co. Puerto Rico v. Proctor & Gamble Commercial Co., 228 F.3d 24, 35 (1st Cir.
       2000); Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134, 1139 (9th Cir. 1997).



                                                  65
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  POST-TRIAL INSTRUCTION NO. 43: FALSE ADVERTISING—MATERIALITY

         To establish that deception is “material,” the plaintiff must present evidence proving that
  the advertising claims at issue are likely to influence the purchasing decision of consumers.64




  64
       PBM Prods., LLC v. Mead Johnson & Co., No. 3:09-CV-269, 2010 WL 723750, at *3 (E.D.
       Va. Mar. 2, 2010); 5 J. THOMAS MCCARTHY, MCCARTHY ON TRADEMARKS AND UNFAIR
       COMPETITION § 27.35 (4th ed. 2014).



                                                 66
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  POST-TRIAL INSTRUCTION NO. 44:    AFFIRMATIVE DEFENSE—WAIVER,
  ACQUIESCENCE, LACHES AND/OR ESTOPPEL

          Handi-Foil asserts an affirmative defense known as “laches.” Laches may be applied in
  trademark cases to deny relief to Reynolds who though having knowledge of an infringement,
  has, to the detriment of the defendant, unreasonably delayed in seeking redress.

         For Handi-Foil to prevail on its defense of laches, Handi-Foil must prove by a
  preponderance of the evidence that (1) Reynolds knew of the infringing use; (2) Reynolds failed
  to exercise due diligence and delayed inexcusably in instituting this action; and (3) Handi-Foil
  was prejudiced by that delay.

         Reynolds’ trademark infringement action may also be barred by acquiescence if it is
  found that Reynolds, as the trademark owner, conveyed to the defendant through affirmative act
  or deed, expressly or impliedly consents to the infringement.

         To prevail on its claim of estoppel, Handi-Foil must prove that: (1) Handi-Foil’s lack of
  knowledge and of the means of knowledge of the truth as to the facts in question;
  (2) Handi-Foil’s reliance, in good faith, upon Reynolds’ misleading conduct or false
  representations; and (3) Handi-Foil’s changes in position based thereon to Handi-Foil’s injury,
  detriment or prejudice.65




  65
       What-A-Burger v. Whataburger, Inc. 357 F.3d 441, 449 (4th Cir. 2004); Oylmpia Wreke
       Aktiengesellschaft v. Gen. Elec. Co., 545 F. Supp. 598, 611 (W.D. Va. 1982); 4 J. McCarthy,
       MCCARTHY ON TRADEMARK AND UNFAIR COMPETITION §§ 31.02, 31:12, 31.14 (3d ed.
       2014).



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  POST-TRIAL INSTRUCTION NO. 45:                     EFFECT OF INSTRUCTIONS AS TO
  DAMAGES

         The fact I am about to instruct you as to the proper measure of damages should not be
  considered as indicating any view of mine as to which party is entitled to your verdict in this
  case. Instructions as to the measure of damages are given for your guidance only in the event
  you should find in favor of the plaintiff from a preponderance of the evidence in the case in
  accordance with the other instructions.66




  66
       3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice and
       Instructions § 106:02 (6th ed. 2011).



                                                68
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  POST-TRIAL INSTRUCTION NO. 46: HANDI-FOIL’S PROFITS (DISGORGEMENT)

          Reynolds seeks to recover the profits Handi-Foil gained from infringing Reynolds’
  asserted trademarks and trade dress, also referred to as disgorgement. Reynolds, if successful, is
  not automatically entitled to an award of Handi-Foil’s profits attributable to the infringement.
  Reynolds must prove by the preponderance of the evidence that such an award would be
  reasonable.

          In determining whether or not to make such an award, you may consider whether or not
  the infringement caused Reynolds to lose sales of its own products, whether actual confusion in
  the marketplace has occurred, whether Handi-Foil’s conduct was intentionally wrongful, and
  whether or not Reynolds promptly asserted its claim.

          Profit is determined by deducting expenses from gross revenue.

         Reynolds is required only to prove Handi-Foil’s gross revenue. Handi-Foil is required to
  prove any expenses that it argues should be deducted in determining its profits.

           Although Reynolds may be awarded Handi-Foil’s profits, it is only awarded those profits
  it can prove are due to the allegedly infringing activity. Reynolds is only entitled to the amount
  of sales made to consumers who purchased any of the allegedly infringing Handi-Foil products
  because of either Reynolds’ trademarks or trade dress. Thus, if you find that a portion of the
  sales of any infringing goods are attributable to factors other than the accused trade dress, then
  you may appropriation the amount of profits that you find to be attributable to that accused trade
  dress.67




  67
       15 U.S.C. § 1117(a); Synergistic Int’l, LLC v. Korman, 470 F.3d 162, 175 n.13 (4th Cir.
       2006) (applying factors for determining award of lost profit damages under Lanham Act);
       Rexall Sundown, Inc. v. Perrigo Co., 707 F. Supp. 2d 357, 361 n. 2, 362 (E.D.N.Y. 2010);
       Gucci Am., Inc. v. Daffy’s, 354 F.3d 228, 246-47 (3rd Cir. 2003) (“An award of the
       infringer’s profits seeks to make the trademark owner whole for losses sustained by the
       plaintiff as a result of infringer’s use of something that did not belong to him.”); see Quik
       Techs., Inc. v. Sage Grp. PLC, 313 F.3d 338, 349 (5th Cir. 2002); BASF Corp. v. Old World
       Trading Co., Inc., 41 F.3d 1081, 1092-93, 1096 (7th Cir. 1994) (“The variety of
       circumstances in which a court may award disgorgement by no means indicate that the
       district court is required to award disgorgement.” (emphasis in original)); Life Indus. v.
       Ocean Bio-Chem, Inc., 827 F. Supp. 926, 933 (E.D.N.Y. 1993) (damage award only awarded
       if both causation and amount is sufficiently shown).



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  POST-TRIAL INSTRUCTION NO. 47: COSTS AND ATTORNEYS’ FEES

          In a trademark infringement or false advertising case under the Lanham Act, a prevailing
  party (i.e., the party that wins) can recover its attorneys’ fees and costs of the action, which
  include such things as filing fees and copy fees. These fees and costs should only be awarded in
  exceptional cases.

         If Reynolds prevails, the case could be deemed “exceptional” if you find that Reynolds
  has demonstrated that Handi-Foil’s conduct was malicious, fraudulent, willful or deliberate in
  nature. If you make these findings, you may, but are not required to, assess costs and attorneys’
  fees against Handi-Foil for its willful, deliberate, or intentional violations of the Lanham Act, or
  for Handi-Foil’s litigation misconduct.

        If Handi-Foil prevails, the case could be deemed “exceptional” if you find that Reynolds
  was guilty of abuse of process in suing Handi-Foil in this action. If you make this finding, you
  may, but are not required to, assess costs and attorneys’ fees against Reynolds for its litigation
  misconduct.68




  68
       15 U.S.C. § 1117(a); Nightingale Home Healthcare v. Anodyne Therapy, 626 F. 3d 958, 963-
       64 (7th Cir. 2010); People for Ethical Treatment of Animals v. Doughney, 263 F.3d 359, 370
       (4th Cir. 2001); Shell Oil Co. v. Comm. Petroleum, Inc., 928 F.2d 104, 108 n.6 (4th Cir.
       1991).



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          PART III: HANDI-FOIL’S PROPOSED SPECIAL VERDICT FORM




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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

                                                    )
  REYNOLDS CONSUMER PRODUCTS INC.,                  )
                                                    )
                       Plaintiff,                   )
                                                    )
               v.                                   )       Case No.: 1:13-cv-214 LO/TRJ
                                                    )
  HANDI-FOIL CORPORATION,                           )
                                                    )
                       Defendant.                   )
                                                    )

                                    SPECIAL VERDICT FORM


        We, the jury, for our special verdict, do find as follows:



  I.    TRADEMARK INFRINGEMENT

  Question No. 1: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below infringes Reynolds’ registered trademarks?




        Answer:

               Yes________             No________
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  Question No. 2: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below infringes Reynolds’ registered trademarks?




        Answer:

               Yes________         No________



  Question No. 3: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below infringes Reynolds’ registered trademarks?




        Answer:

               Yes________         No________



  Question No. 4: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below infringes Reynolds’ registered trademarks?




        Answer:

               Yes________         No________


  Please proceed to Question 5.


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  II.       TRADE DRESS INFRINGEMENT

  Question No. 5: Has Reynolds proven by a preponderance of the evidence that the asserted trade
  dress that consists of the following claimed elements is both (1) non-functional and
  (2) inherently distinctive or has acquired secondary meaning:

        a. The color scheme – the majority of the box is a bright shade of blue, called “reflex blue,”
        created specifically for Reynolds, and the rest of the front of the box is a shade of pink that is
        slightly darker than PMS 486;

        b. The use of the color scheme – the blue and pink sections run left to right;

        c. The use of prominent lettering to display the brand name within the blue section on the front of
        the box;

        d. The use of silver bands to separate the blue from the pink sections of the front of the box;

        e. The placement of the quantity information (square footage) in the pink section on the right side
        front of the box, using bold type written in blue, and including, in white lettering, the number of
        yards by inches and the total meters, broken down into the number of meters by millimeters;

        f. The inclusion that “FOIL MADE IN U.S.A.” in silver lettering on the front of the box;

        g. The repetition of the color scheme and type on the ends of the box;

        h. The use of the “press here to lock” feature on the ends of the boxes;

        i. The use of graphics with how-to information showing how to “Wrap food to keep it fresh & to
        prevent freezer burn,” “Line pans before cooking to make cleanup easy,” and “Cover bowls to
        help keep food moist & prevent splatters”;

        j. The use of the “Lift” graphic to indicate how to open the box;

        k. The positioning of REYNOLDS WRAP on the top flap of the box; and

        l. The color (yellow), placement, and text used to caution the consumer.

            Answer:

                    Yes________             No________



  If you answered “Yes” to Question 5, then you must answer Questions 6-9.                           If you
  answered “No” to Question 5, then proceed to the Note before Question 10.




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  Question No. 6: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below infringes Reynolds’ trade dress?




        Answer:

               Yes________         No________



  Question No. 7: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below infringes Reynolds’ trade dress?




        Answer:

               Yes________         No________



  Question No. 8: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below infringes Reynolds’ trade dress?




        Answer:

               Yes________         No________




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  Question No. 9: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below infringes Reynolds’ trade dress?




        Answer:

               Yes________          No________



  Please proceed to the Note before Question 10.




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  III.   PROFITS



  NOTE: Only answer Question 10 if you answered “Yes” to one or more of Questions 1-4 or
  Questions 6-9. If you answered “No” to Questions 1-4 and Questions 6-9, proceed to
  Question 12.



  Question No. 10: Has Reynolds proven by a preponderance of the evidence that it is entitled to
  recover Handi-Foil’s profits due to Handi-Foils trademark or trade dress infringement?

         Answer:

                Yes________           No________



  If you answered “Yes” to Question 10, then you must answer Question 11. If you answered
  “No” to Question 10, proceed to Question 12.



  Question No. 11: What amount of Handi-Foil’s profits do you find that Reynolds is entitled to
  recover due to Handi-Foils trademark or trade dress infringement?

         Answer:

         $_______________________



  Please proceed to Question 12.




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  IV.   DILUTION

  Question 12: Has Reynolds proven by a preponderance of the evidence that its registered
  trademarks are famous?

        Answer:

               Yes________         No________



  If you answered “Yes” to Question 12, then you must answer Question 13. If you answered
  “No” to Question 12, proceed to Question 22.



  Question 13: Has Reynolds proven by a preponderance of the evidence that its registered
  trademarks are inherently distinctive or has acquired secondary meaning?

        Answer:

               Yes________         No________



  If you answered “Yes” to Question 13, then you must answer Questions 14-21. If you
  answered “No” to Question 12, proceed to Question 22.



  Question 14: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below is likely to cause dilution to Reynolds’ registered trademarks by
  blurring?




        Answer:

               Yes________         No________




                                             7
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  Question 15: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below is likely to cause dilution to Reynolds’ registered trademarks by
  blurring?




        Answer:

               Yes________         No________



  Question 16: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below is likely to cause dilution to Reynolds’ registered trademarks by
  blurring?




        Answer:

               Yes________         No________



  Question 17: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below is likely to cause dilution to Reynolds’ registered trademarks by
  blurring?




        Answer:

               Yes________         No________


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  Question 18: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below is likely to cause dilution to Reynolds’ registered trademarks by
  tarnishment?




        Answer:

               Yes________         No________



  Question 19: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below is likely to cause dilution to Reynolds’ registered trademarks by
  tarnishment?




        Answer:

               Yes________         No________




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  Question 20: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below is likely to cause dilution to Reynolds’ registered trademarks by
  tarnishment?




        Answer:

               Yes________         No________



  Question 21: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below is likely to cause dilution to Reynolds’ registered trademarks by
  tarnishment?




        Answer:

               Yes________         No________



  Please proceed to Question 22.




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  Question 22: Has Reynolds proven by a preponderance of the evidence that its asserted trade
  dress that contains the following claimed elements is famous?

     a. The color scheme – the majority of the box is a bright shade of blue, called “reflex blue,”
     created specifically for Reynolds, and the rest of the front of the box is a shade of pink that is
     slightly darker than PMS 486;

     b. The use of the color scheme – the blue and pink sections run left to right;

     c. The use of prominent lettering to display the brand name within the blue section on the front of
     the box;

     d. The use of silver bands to separate the blue from the pink sections of the front of the box;

     e. The placement of the quantity information (square footage) in the pink section on the right side
     front of the box, using bold type written in blue, and including, in white lettering, the number of
     yards by inches and the total meters, broken down into the number of meters by millimeters;

     f. The inclusion that “FOIL MADE IN U.S.A.” in silver lettering on the front of the box;

     g. The repetition of the color scheme and type on the ends of the box;

     h. The use of the “press here to lock” feature on the ends of the boxes;

     i. The use of graphics with how-to information showing how to “Wrap food to keep it fresh & to
     prevent freezer burn,” “Line pans before cooking to make cleanup easy,” and “Cover bowls to
     help keep food moist & prevent splatters”;

     j. The use of the “Lift” graphic to indicate how to open the box;

     k. The positioning of REYNOLDS WRAP on the top flap of the box; and

     l. The color (yellow), placement, and text used to caution the consumer.

         Answer:

                 Yes________             No________



  If you answered “Yes” to Question 22, then you must answer Question 23. If you answered
  “No” to Question 22, proceed to Question 32.




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  Question 23: Has Reynolds proven by a preponderance of the evidence that its asserted trade
  dress that consists of the following claimed elements is inherently distinctive or has acquired
  secondary meaning?

     a. The color scheme – the majority of the box is a bright shade of blue, called “reflex blue,”
     created specifically for Reynolds, and the rest of the front of the box is a shade of pink that is
     slightly darker than PMS 486;

     b. The use of the color scheme – the blue and pink sections run left to right;

     c. The use of prominent lettering to display the brand name within the blue section on the front of
     the box;

     d. The use of silver bands to separate the blue from the pink sections of the front of the box;

     e. The placement of the quantity information (square footage) in the pink section on the right side
     front of the box, using bold type written in blue, and including, in white lettering, the number of
     yards by inches and the total meters, broken down into the number of meters by millimeters;

     f. The inclusion that “FOIL MADE IN U.S.A.” in silver lettering on the front of the box;

     g. The repetition of the color scheme and type on the ends of the box;

     h. The use of the “press here to lock” feature on the ends of the boxes;

     i. The use of graphics with how-to information showing how to “Wrap food to keep it fresh & to
     prevent freezer burn,” “Line pans before cooking to make cleanup easy,” and “Cover bowls to
     help keep food moist & prevent splatters”;

     j. The use of the “Lift” graphic to indicate how to open the box;

     k. The positioning of REYNOLDS WRAP on the top flap of the box; and

     l. The color (yellow), placement, and text used to caution the consumer.

         Answer:

                 Yes________             No________



  If you answered “Yes” to Question 23, then you must answer Questions 24-31. If you
  answered “No” to Question 23, proceed to Question 32.




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  Question 24: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below is likely to cause dilution to Reynolds’ trade dress by blurring?




        Answer:

               Yes________         No________



  Question 25: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below is likely to cause dilution to Reynolds’ trade dress by blurring?




        Answer:

               Yes________         No________



  Question 26: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below is likely to cause dilution to Reynolds’ trade dress by blurring?




        Answer:

               Yes________         No________




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  Question 27: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below is likely to cause dilution to Reynolds’ trade dress by blurring?




         Answer:

                Yes________         No________



  Question 28: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below is likely to cause dilution to Reynolds’ trade dress by tarnishment?




         Answer:

                Yes________         No________



  Question 29: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below is likely to cause dilution to Reynolds’ trade dress by tarnishment?




         Answer:

                Yes________         No________




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  Question 30: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below is likely to cause dilution to Reynolds’ trade dress by tarnishment?




         Answer:

                Yes________           No________



  Question 31: Has Reynolds proven by a preponderance of the evidence that Handi-Foil’s
  package depicted below is likely to cause dilution to Reynolds’ trade dress by tarnishment?




         Answer:

                Yes________           No________




  Please proceed to Question 32(a).




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  V.     FALSE ADVERTISING

  Question No. 32(a): Has Reynolds proven by a preponderance of the evidence that Hand-Foil’s
  statement describing its line of Handi-Foil brand aluminum foil products as new is false?

        Answer:

               Yes________            No________



  If you answered “Yes” to Question 32(a), then you must answer Questions 32(b)-(d). If you
  answered “No” to Question 32(a), proceed to Question 33(a).



        Question No. 32(b): Has Reynolds proven by a preponderance of the evidence that Hand-
        Foil’s statement describing its line of Handi-Foil brand aluminum foil products as new, as
        the statement appears in the marketplace, has caused either actual deception or at least the
        tendency to deceive a substantial portion of the intended audience?

               Answer:

                       Yes________            No________



        Question No. 32(c): Has Reynolds proven by a preponderance of the evidence that any
        actual deception or tendency to deceive that may result from Hand-Foil’s statement
        describing its line of Handi-Foil brand aluminum foil products as new, as the statement
        appears in the marketplace, is material, in that it is likely to influence the purchasing
        decision of any the retailers to which it was made?

               Answer:

                       Yes________            No________



        Question No. 32(d): Has Reynolds proven by a preponderance of the evidence that it is
        likely to suffer injury as a result of Hand-Foil’s statement describing its line of Handi-
        Foil brand aluminum foil products as new, as the statement appears in the marketplace?

               Answer:

                       Yes________            No________




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  Question No. 33(a): Has Reynolds proven by a preponderance of the evidence that Hand-Foil’s
  statement describing its line of Handi-Foil brand aluminum foil products as having equivalent
  strength and gauge to Reynolds Wrap is false?

         Answer:

                Yes________            No________



  If you answered “Yes” to Question 33(a), then you must answer Questions 33(b)-(d). If you
  answered “No” to Question 33(a), then please stop here.



         Question No. 33(b): Has Reynolds proven by a preponderance of the evidence that Hand-
         Foil’s statement describing its line of Handi-Foil brand aluminum foil products as having
         equivalent strength and gauge to Reynolds Wrap, as the statement appears in the
         marketplace, has caused either actual deception or at least the tendency to deceive a
         substantial portion of the intended audience?

                Answer:

                        Yes________           No________



         Question No. 33(c): Has Reynolds proven by a preponderance of the evidence that any
         actual deception or tendency to deceive that may result from Hand-Foil’s statement
         describing its line of Handi-Foil brand aluminum foil products as having equivalent
         strength and gauge to Reynolds Wrap, as the statement appears in the marketplace, is
         material, in that it is likely to influence the purchasing decision of any the retailers to
         which it was made?

                Answer:

                        Yes________           No________



         Question No. 33(d): Has Reynolds proven by a preponderance of the evidence that it is
         likely to suffer injury as a result of Hand-Foil’s statement describing its line of Handi-
         Foil brand aluminum foil products as having equivalent strength and gauge to Reynolds
         Wrap, as the statement appears in the marketplace?

                Answer:

                        Yes________           No________


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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 17th day of March, 2014, I will electronically file the

  foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification

  of such filing (NEF) to the following:

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